                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



JANET MONGE                                :       CIVIL ACTION
                     Plaintiff             :
                                           :
              v.                           :
                                           :
UNIVERSITY OF PENNSYLVANIA,                :       NO. 22-2942
et al.                                     :
               Defendant                   :


                       NOTICE OF TELEPHONE CONFERENCE

       A TELEPHONE CONFERENCE in the above matter has been scheduled for August

11, 2022 at 10:00 am with the Honorable Gene E.K. Pratter, United States Courthouse, 601

Market Street, Philadelphia, PA 19106.

       Parties are instructed to telephone 888-684-8852, then enter 3051753# to be connected

with the Judge.



                                                          s/Susan Flaherty
                                                          SUSAN FLAHERTY
                                                          Civil Courtroom Deputy
                                                          to the Honorable Gene E.K. Pratter
                                                          United States District Court Judge




Date of Notice: August 5, 2022
Copies sent via ECF notification
